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                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                           CIVIL MINUTES -- GENERAL

Case No.   CV 08-3540-VBF(FFMx)                            Dated: March 28, 2011

Title:     Richard B. Clark -v- Advanceme, Inc.

PRESENT:   HONORABLE VALERIE BAKER FAIRBANK, UNITED STATES DISTRICT JUDGE

           Joseph Remigio                          Rosalyn Adams
           Courtroom Deputy                        Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFFS:            ATTORNEYS PRESENT FOR DEFENDANTS:

           Anat Levy                           Scott M. Pearson
           Marc M. Seltzer

PROCEEDINGS:    (1) PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF PROPOSED
                SETTLEMENT AND PLAN OF ALLOCATION (DKT. #264); (2)
                PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES AND COSTS
                AND PLAINTIFFS’ COMPENSATION AWARDS (DKT. #260)

Case called, and counsel make their appearance.

The Court notes its Tentative Order (dkt. #269), which was filed March
28, 2011 and provided to counsel for review. Counsel are permitted to
address the Tentative Order.

For the reasons stated on the record, the Court grants the Motion for
Award of Attorneys’ Fees and Costs and Plaintiffs’ Compensation Awards
(dkt. #260). The Court directs Plaintiffs’ counsel to file a proposed
order by March 30, 2011.

As to the Motion for Final Approval of Proposed Settlement and Plan of
Allocation (dkt. #264), the Court sets a non-appearance status conference
for May 9, 2011 at 4:00 p.m. At that time, the Court will sign the
Proposed Order (dkt. #264-1) and this case will be closed.

The Court adopts its Tentative Order as the Order of the Court.

IT IS SO ORDERED.

                                             Initials of Deputy Clerk        jre

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